                Case: 3:25-cv-00021-TMR-PBS Doc #:
1/22/25, 11:24 AM                                  1-1
                                                Case    Filed:
                                                     Details      01/22/25
                                                             - CourtView JusticePage:
                                                                                Solutions1 of 5                       PAGEID #: 7
  24CR0278 STATE OF OHIO vs. Brock, William J DMR

       Case Status:
       Open
       File Date
       04/15/2024
       Action:
       MURDER
       Case Judge:
       RASTATTER, DOUGLAS M
       Next Event:
       01/23/2025


    All Information
                         I   Party
                                     I   Charge
                                                  I   Docket
                                                               I   Event
                                                                               l
           Party Information
           Brock, William J

   .       - DEFENDANT

   • DOB                                                                   • Address
   0       08/23/1942                                                      0 7072 South Charleston Clifton Road
   0       Disposition                                                         SOUTH CHARLESTON, OH 45368
   0

   0       Disp Date                                                           Alias                              l
   0




                                                                           ~I
                                                                               Party Attorney
                                                                               Attorney
                                                                               Rion, Jon Paul
                                                                               Address
                                                                               Phone
                                                                                                                         l
       ,
           Party Charge Information
   ..      Brock, William J
           - DEFENDANT
            Charge # 1:
             2903.02(A) -   MURDER
   • Original
   0
              Charge
     2903.02(A) MURDER
   0       Indicted Charge
   0

   0       Amended Charge
   0




   ..· -
                                                                                                                                    ~



           Brock, William J
           - DEFENDANT
            Charge # 2:
             2903.02(B) -   MURDER
   • Original
   0
              Charge
     2903.02(B) MURDER
   0       Indicted Charge
   0

   0       Amended Charge
   0


   ..      Brock, William J
           - DEFENDANT
            Charge # 3:
             2903.11(A)(2) - Felony 2nd Degree                     FELONIOUS ASSAULT
   •       Original Charge
   0       2903.11(A)(2) FELONIOUS ASSAULT (Felony 2nd Degree)
   0       Indicted Charge
   0

           Amended Charge
                                                                                                                             A
   0

   0


           Brock, William J
           - DEFENDANT
       r
https://commonpleas.clarkcountyohio.gov/eservices/searchresults.page?x=VKQV74Pu9enD4zL1J04-6BnnYHZ5Ocr-9FK0FRq3*-84l4v54IkBb6MLVaD…     1/5
                Case: 3:25-cv-00021-TMR-PBS Doc #:
1/22/25, 11:24 AM                                  1-1
                                                Case    Filed:
                                                     Details      01/22/25
                                                             - CourtView JusticePage:
                                                                                Solutions2 of 5                        PAGEID #: 8
           Charge # 4:
       I    2905.01(B) - Felony 1st Degree
       Original Charge
                                               KIDNAPPING
   •
   0   2905.01(B) KIDNAPPING (Felony 1st Degree)
   0   Indicted Charge
   0

   0   Amended Charge
   0


       Brock, William J
       - DEFENDANT
        Charge # 5:
         2903.02(B) -   MURDER
   • Original Charge
   0   2903.02(B) MURDER
   0   Indicted Charge
   0
   0   Amended Charge
   0



       Docket Information
       Date          Docket Text                                                                                               Image
                                                                                                                               Avail.
       04/15/2024 Indictment Filed Against Defendant
                                                                                                                                     
                                                                                                                                     
                     Request Filed and Summons with Cert Copy of Indictment issued to the Sheriff of Clark County, Ohio for          Image
                     Personal Service upon Defendant Receipt: 371060 Date: 04/17/2024 Receipt: 371081 Date: 04/17/2024
       04/15/2024 SUMMONS ON INDICTMENT ISSUED TO SHERIFF

                     (n)SUMMONS ON INDICTMENT
                     Sent On: 04/15/2024 14:24:14
                     Notice Sent To: William J Brock 7072 South Charleston Clifton Road, SOUTH CHARLESTON, OH 45368
       04/15/2024 Request Filed and Summons with Copy of Indictment Issued to the Sheriff of Clark County, Ohio for
                  Personal/Residential Service upon Defendant                                                                        
                                                                                                                                     
                  Issue Date: 04/15/2024                                                                                             Image
                  Service: CRIMINAL SUMMONS
                  Method: CLARK COUNTY SHERIFF SERVICE
                  Cost Per: 3.2500

                     William J Brock
                     DEFAULT ADDRESS
                     7072 South Charleston Clifton Road
                     SOUTH CHARLESTON, OH 45368
                     Tracking Number: 00000000000000002257 Receipt: 371060 Date: 04/17/2024 Receipt: 371081 Date:
                     04/17/2024
       04/17/2024 Defendant's Request for Discovery Filed
                                                                                                                                      
                                                                                                                                      
                                                                                                                                     Image
       04/17/2024 Summons Returned Endorsed as Follows/Sheriffs Return:
                      Deborah K Burchett / Sheriff                                                                                    
                                                                                                                                      
                  Method : CLARK COUNTY SHERIFF SERVICE                                                                              Image
                  Issued : 04/15/2024
                  Service : CRIMINAL SUMMONS
                  Served : 04/17/2024
                  Return : 04/17/2024
                  on     : Brock, William J
                  Signed By : William J. Brock
                  Reason : SHERIFF PERSONAL SERVICE
                  Comment :
                  Tracking #: 00000000000000002257
       04/17/2024 Request for Bill of Particulars
                                                                                                                                     
                                                                                                                                     
                     Attorney: KAVANAGH, PAUL J                                                                                      Image

       04/17/2024 BOND PRINTED AND ISSUED TO EITHER THE CLARK COUNTY SHERIFF OR CLERK OF COMMON PLEAS
                  FOR SERVICE UPON DEFENDANT

                     46A2 BOND
                     Sent On: 04/17/2024 10:32:59
       04/17/2024 Rotary Deposit
                  Applies To: Brock, William J (DEFENDANT) Receipt: 371054 Date: 04/17/2024
       04/17/2024 Copy of Entry Dismissing Case and Transferring Bail Received from Clark County Municipal Court Filed
                                                                                                                                     
                                                                                                                                     
                                                                                                                                     Image
       04/17/2024 Surcharge/Defense Support Deposit Receipt: 371060 Date: 04/17/2024


https://commonpleas.clarkcountyohio.gov/eservices/searchresults.page?x=VKQV74Pu9enD4zL1J04-6BnnYHZ5Ocr-9FK0FRq3*-84l4v54IkBb6MLVaD…          2/5
                Case: 3:25-cv-00021-TMR-PBS Doc #:
1/22/25, 11:24 AM                                  1-1
                                                Case    Filed:
                                                     Details      01/22/25
                                                             - CourtView JusticePage:
                                                                                Solutions3 of 5                          PAGEID #: 9
      Date         Docket Text                                                                                                         Image
                                                                                                                                       Avail.
      04/17/2024 100% to Clerk Fee

                   Cost Explanation: from bond Receipt: 371060 Date: 04/17/2024
      04/17/2024 100% TO BOND DEPOSIT Receipt: 371060 Date: 04/17/2024
      04/17/2024 Recognizance of Accused Filed. (46A2 Bond)
                   $200,000/$20,000 posted                                                                                                  
                                                                                                                                            
                                                                                                                                           Image
      04/17/2024 Bond Returned
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/17/2024 Arraignment Entry--- Bond Fixed at $200,000 46(B)(1)(b) with Conditions set forth in Entry.
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/17/2024 Court's Disclosure---As per set forth.
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/17/2024 Pre-Trial Order Filed
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/29/2024 Discovery Checklist
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/29/2024 Witness List
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/29/2024 Bill of Particulars
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      04/29/2024 Notice of Intention to Use Evidence Request for Reciprocal Discovery
                 Attorney: Scott, Kadawni                                                                                                   
                                                                                                                                            
                                                                                                                                           Image
      05/01/2024 HEARING SCHEDULED:
                 Judge: RASTATTER, DOUGLAS M
                 Event: PRE-TRIAL
                 Date: 05/13/2024 Time: 08:30 AM
      05/02/2024 Scheduling Order---Pretrial on 05/13/2024 at 8:30 AM before Judge Douglas M. Rastatter.
                                                                                                                                           
                                                                                                                                           
                                                                                                                                           Image
      05/09/2024 File to: Complete File to Requesting Office of Judge/Magistrate
      05/13/2024 File Returned: Complete File Returned from Judge/Magistrate Office and Placed Back in Filing Cabinet
      05/25/2024 HEARING SCHEDULED:
                 Judge: RASTATTER, DOUGLAS M
                 Event: PRE-TRIAL
                 Date: 07/22/2024 Time: 08:30 AM
      05/25/2024 HEARING SCHEDULED:
                 Judge: RASTATTER, DOUGLAS M
                 Event: JURY TRIAL
                 Date: 09/09/2024 Time: 09:00 AM
                 Result: CONTINUED
      05/29/2024 Scheduling Order---Pre-Trial on 07/22/2024 at 8:30 AM and Jury Trial on 09/09/2024 at 9:00 AM before Judge
                 Douglas M. Rastatter. As per set forth.                                                                                    
                                                                                                                                            
                                                                                                                                           Image
      06/17/2024 Demand for Discovery
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      06/17/2024 Motion for Substitution of Counsel
                 Attorney: Rion, Jon P                                                                                                      
                                                                                                                                            
                                                                                                                                           Image
      06/18/2024 Entry for Substitution of Counsel---Rion, Rion & Rion, L.P.A., Inc., is hereby substituted as counsel of record for
                 Defendant and Paul J. Kavanaugh is hereby relieved as Defendant's counsel of record. As per set forth.                     
                                                                                                                                            
                                                                                                                                           Image
      07/11/2024 Motion for Subpoena
                                                                                                                                            
                                                                                                                                            
                   Attorney: Rion, Jon P                                                                                                   Image

      07/19/2024 Crim. R. 12.2 Notice
                                                                                                                                            
                                                                                                                                            
                                                                                                                                           Image
      07/19/2024 Motion to Compel
                 Attorney: Rion, Jon P                                                                                                      
                                                                                                                                            
                                                                                                                                           Image
      07/19/2024 Motion for Continuance
                 Attorney: Rion, Jon P                                                                                                      
                                                                                                                                            
                                                                                                                                           Image
      07/22/2024 STENOGRAPHER'S BILL / TO BE PAID TO CLARK CO, OHIO FILED.
                 Jamie Sue Jones
                 04/17/24 arraignment
                 STENO BILL- criminal
                 Sent On: 07/22/2024 10:09:46
      07/23/2024 HEARING SCHEDULED:
                 Judge: RASTATTER, DOUGLAS M
https://commonpleas.clarkcountyohio.gov/eservices/searchresults.page?x=VKQV74Pu9enD4zL1J04-6BnnYHZ5Ocr-9FK0FRq3*-84l4v54IkBb6MLVaD…                3/5
1/22/25, 11:24 Case:
               AM    3:25-cv-00021-TMR-PBS Doc #:Case
                                                   1-1Details
                                                        Filed:    01/22/25
                                                              - CourtView       Page:
                                                                          Justice         4 of 5
                                                                                  Solutions                               PAGEID #: 10
      Date         Docket Text                                                                                                           Image
                                                                                                                                         Avail.
                   Event: JURY TRIAL
                   Date: 03/10/2025 Time: 09:00 AM
                   Result: VACATED
      07/23/2024 Entry for Continuance---It is hereby ordered that the Jury Trial currently scheduled for September 9, 2024 at 9:00
                 a.m. is hereby rescheduled for March 10, 2025 at 9:00 am. As per set forth.                                                  
                                                                                                                                              
                                                                                                                                             Image
      07/29/2024 Entry -- On the Defendant's oral motion, the March 10, 2025 trial is continued to April 14, 2025 beginning at 9:00
                 am. As per set forth.                                                                                                        
                                                                                                                                              
                                                                                                                                             Image
      07/29/2024 Motion to Modify Entry
                 Attorney: Scott, Kadawni                                                                                                     
                                                                                                                                              
                                                                                                                                             Image
      07/31/2024 Motion for Medical Records
                 Attorney: Scott, Kadawni                                                                                                     
                                                                                                                                              
                                                                                                                                             Image
      08/01/2024 Subpoena Issuance
      08/06/2024 Subpoena Return/Rion, Rion and Rion / Harold F. Stollings
                 Service Type: Personal                                                                                                      
                                                                                                                                             
                 Service Date: 07/27/2024                                                                                                    Image
                 Applies To: Hall, Mario J (WITNESS)
      08/06/2024 Subpoena Return/Rion, Rion and Rion
                 Service Type: Personal                                                                                                      
                                                                                                                                             
                 Service Date: 07/31/2024                                                                                                    Image
                 Applies To: McArthur, JR, Tinker (WITNESS)
      08/06/2024 Subpoena Return/Rion, Rion and Rion
                 Service Type: Personal                                                                                                      
                                                                                                                                             
                 Service Date: 7/31/24                                                                                                       Image
                 Applies To: Hall, Mario J (WITNESS)
      08/12/2024 Notice of Appearance
                 Attorney: Rion, Jon P                                                                                                       
                                                                                                                                             
                                                                                                                                             Image
      08/19/2024 Motion for Permission to Issue Subpoena to the Public Safety Response Team of Uber Technologies, Inc. (UTI)
                 Pursuant to 18 U.S.C. 2703(d)                                                                                               
                 Attorney: Rion, Jon P                                                                                                       Image

      08/20/2024 Entry---Defendant's motion to compel discovery is Sustained.
                                                                                                                                              
                                                                                                                                              
                                                                                                                                             Image
      08/21/2024 Entry---The State of Ohio's motion for medical record dating from 03/05/2024 to present for Loletha Hall (DOB
                 02/21/1963) from Kettering Hospital and EMS is Sustained.                                                                    
                                                                                                                                              
                                                                                                                                             Image
      08/22/2024 Entry---Defendant's motion for permission to issue a subpoena to the Public Safety Response Team of Uber
                 Technologies for the production of the documents requested in the motion is Sustained.                                       
                                                                                                                                              
                                                                                                                                             Image
      08/23/2024 Subpoena Return/Rion, Rion and Rion, Attorneys at Law
                 Service Type: Personal                                                                                                       
                                                                                                                                              
                 Service Date: 08/22/2024                                                                                                    Image
                 Applies To: Federal Bureau of Investigation (WITNESS)
      08/23/2024 Order for Permission to Issue Subpoena to the Public Safety Response Team of Uber Technologies, Inc. (UTI)
                 Pursuant to 18 U.S.C. § 2703(d)---UTI is required to disclose the basic subscriber information, specifically, billing       
                                                                                                                                             
                 transaction history from six weeks prior to and through March 25, 2024. As per set forth.                                   Image

      08/26/2024 Entry---The trial has been set for April 14, 2025 upon the request of the defense counsel. Defense counsel
                 selected this trial date due to their busy trial schedule, need to further investigate the case, and need to file           
                                                                                                                                             
                 additional pre-trial motions.                                                                                               Image

      09/03/2024 Motion for Court Order to Provide Cell Phone Tower Data
                 Attorney: Rion, Jon P                                                                                                        
                                                                                                                                              
                                                                                                                                             Image
      09/03/2024 Motion for Independent Evaluation
                 Attorney: Rion, Jon P                                                                                                        
                                                                                                                                              
                                                                                                                                             Image
      09/19/2024 Entry---The motion is Sustained upon the satisfaction of the conditions set forth below.
                                                                                                                                              
                                                                                                                                              
                                                                                                                                             Image
      09/20/2024 Subpoena Return/Rion, Rion and Rion / Harold F. Stollings
                 Service Type: Process Server / Personal                                                                                      
                                                                                                                                              
                 Service Date:                                                                                                               Image
                 Applies To: Federal Bureau of Investigation (WITNESS)
      10/02/2024 Entry---The defendant's September 3, 2024 motion for the Court to order AT&T to provide cellphone tower data
                 is Sustained. It is therefore ordered that AT&T and/or State provide defense counsel with cellphone tower data              
                                                                                                                                             
                 for number 614-330-6839 from January 1, 2024 to April 1, 2024.                                                              Image

      11/08/2024 Entry---It is hereby ordered that Kettering Hospital and EMS produce all medical records from 03/25/24 and
                 present for patient Loletha Hall with Date of Birth 02/21/1963 including, but not necessarily limited to,                   
                                                                                                                                             
                 photographs, imaging, radiology, and related documents and images. As per set forth.                                        Image



https://commonpleas.clarkcountyohio.gov/eservices/searchresults.page?x=VKQV74Pu9enD4zL1J04-6BnnYHZ5Ocr-9FK0FRq3*-84l4v54IkBb6MLVaD…                  4/5
1/22/25, 11:24 Case:
               AM    3:25-cv-00021-TMR-PBS Doc #:Case
                                                   1-1Details
                                                        Filed:    01/22/25
                                                              - CourtView       Page:
                                                                          Justice         5 of 5
                                                                                  Solutions                       PAGEID #: 11
      Date        Docket Text                                                                                                     Image
                                                                                                                                  Avail.
      12/10/2024 HEARING SCHEDULED:
                 Judge: RASTATTER, DOUGLAS M
                 Event: JURY TRIAL
                 Date: 04/14/2025 Time: 09:00 AM
      12/10/2024 Motion to Appoint Special Process Server
                 Attorney: Rion, Jon P                                                                                                 
                                                                                                                                       
                                                                                                                                      Image
      12/10/2024 Motion for Contempt (Ohio Crim. R. 17)
                 Attorney: Rion, Jon P                                                                                                 
                                                                                                                                       
                                                                                                                                      Image
      12/12/2024 Defendant's Motion for Jury View
                                                                                                                                       
                                                                                                                                       
                  Attorney: Rion, Jon P                                                                                               Image

      12/12/2024 Entry Appointing Special Process Server---Harold Stollings is hereby designated as Special Process Server
                 authorized to make service in this case. As per set forth.                                                            
                                                                                                                                       
                                                                                                                                      Image
      12/17/2024 Entry Granting Defendant's Motion for Jury View---As per set forth.
                                                                                                                                       
                                                                                                                                       
                                                                                                                                      Image
      01/09/2025 Show Cause Order and Notice---The motion demonstrates that there is probable cause to believe that the F.B.I.
                 is in contempt of this Court and orders that the Resident Agent in charge from the F.B.I. appear before Judge         
                                                                                                                                       
                 Rastatter in the Clark County Common Pleas Court on 1/23/25 at 8:30 A.M. As per set forth.                           Image

      01/21/2025 Motion for Continuance
                 Attorney: Rion, Jon P                                                                                                
                                                                                                                                      
                 Applies To: Brock, William J (DEFENDANT)                                                                             Image



      Events
      Date                             Type                                     Event Judge                              Result
      05/13/2024 08:30 AM              PRE-TRIAL                                RASTATTER, DOUGLAS M
      07/22/2024 08:30 AM              PRE-TRIAL                                RASTATTER, DOUGLAS M
      09/09/2024 09:00 AM              JURY TRIAL                               RASTATTER, DOUGLAS M                     CONTINUED
      01/23/2025 08:30 AM              SHOW CAUSE HEARING                       RASTATTER, DOUGLAS M
      03/10/2025 09:00 AM              JURY TRIAL                               RASTATTER, DOUGLAS M                     VACATED
      04/14/2025 09:00 AM              JURY TRIAL                               RASTATTER, DOUGLAS M




https://commonpleas.clarkcountyohio.gov/eservices/searchresults.page?x=VKQV74Pu9enD4zL1J04-6BnnYHZ5Ocr-9FK0FRq3*-84l4v54IkBb6MLVaD…           5/5
